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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

United States of America,
Case No.: 22-cr-20303

Plaintiff,
V. Judge Thomas L. Ludington
Magistrate Judge Patricia T. Morris
Timothy Heath Findlay,
Defendant.

 

CONSENT TO ENTER GUILTY PLEA BEFORE
A UNITED STATES MAGISTRATE JUDGE

 

The defendant voluntarily consents to permit United States Magistrate Judge
Patricia T. Morris to conduct a plea hearing according to the procedures outlined in
Rule 11 of the Federal Rules of Criminal Procedure. The defendant understands
that if the guilty plea is accepted by United States District Judge Thomas L.
Ludington, then Judge Ludington will decide whether to accept or reject any Rule

11 plea agreement and wil] adjudicate guilt and impose sentence.
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LPS ~ Date: W-fJ- JOZ §
(Co r Defendant

s/ROY R. KRANZ Date: 1/24/2023
Roy R. Kranz
Assistant U.S. Attorney
